    Case 4:08-cv-00091-SPM-WCS Document 1 Filed 02/27/08 Page 1 of 12




UNITED STATES DPSTRICT COURT FORTHE NORTHERN DISTRICT OF FLORIDA
                    TALLAHASSEE         DlVlSION



          EMPLOYMENT DlSCRIMINAPlOkl GOMPUINT FORM


               TO BE USED BY PRO SE LITIGANTS IN ACTIONS
    FILED UNDER 42 U.S.C. 3 2000e. etsea., (Title VII of the Civil Riahts Act)
        29 U.S.C. 5 621. et sea.. [Age Discrimination in Employment Act)
        OR 42 U.S.C. 5 1 2 l l 2 . et sea.. (Americans with Disabilities Act)




YILI TSENG


    (Name of Plaintiff)




                                                 CASE NO:                          J
                                                       (To be assigned by Clerk)


FLORIDA A & M UNIVERSITY, AND

FLORIDA A & M UNIVERSITY BOARD OF TRUSTEES
(Name of Defendant which should
generally be the name of the Employer.)




             ANSWER ALL QUESTIONS ON THE FOLLOWING PAGES:
     Case 4:08-cv-00091-SPM-WCS Document 1 Filed 02/27/08 Page 2 of 12



1.     PARTIES:

       A.     PLAINTIFF:

State yourfull name, full mailing address, and phone number:

Name of Plainttf:
                Yili Tseng
~    ~ address:
       i l i ~ 3209
                  ~  Stoneburg C t . Apt. G
                Greensboro, NC 27409-8807


Phone #              1 336) 664-8037

       .      DEFEPUDANTtS):
State the name of the Defendant in the first line (place where you were employed or sought
employment) and mailing address.


       Defendant's name: Florida A & ?1 University
       Mailing address:     Rm. 400 Lee Hall
                           Florida A &        ?1   University
                            Tallahassee, FL 32307




       PLEASE CONTINUE ANSWERING ALL QUESTIONS ON THE FOLLOWING PAGES
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 FACTUAL BACWWBUMD:

 Defendant Employer is:          Florida A & M University
 Defendant's business is: University
 Business address -location of headquarters: 4 0 0 Lee Hall. Florida A & M univers]*)
                                                       Tallahassee, FL 3 2 3 0 7
 Plaintiff asought employment from Defendant on July 2 0 0 6
 or E3 was employed by Defendant from             08/2001          until 0 5 / 2 0 0 5
 The location where Plaintfff was employed or sought employment was:
 (street address) Dept. of Computer & Information Sciences, FAMU
 (citylcounty and state)        Tallahassee/Leon, Florida
 Plaintiff filed charges against Defendant with the Equal Employment Opportunity
 Commissionon:             March 2 9 , 2 0 0 7        .
 The Respondent(s) named on the EEOC charging document:
  Florida A & M University                                                       . (attach document).
 Defendant discriminated against Plaintiff as described in Section Ill of this complaint on
 or about 3(day)                 July                 (month), and 2 0 0 6           (year).
 As claimed in the EEOC charging document, Defendant discriminated against Plaintiff
 because of Plaintiff's:         genderisex                        (please identify)
      race                                    color
 O religion                               W   national origin W w i l n ( 1a r , a n a a- P i ssue)
      disability                                              age Date of Birth is
      other (explain):
 Defendant discriminated against Plaintiff when Defendant:
 IXi failed to hire Plaintiff             U terminated Plaintiff's employment
      failed to promote Plaint~ff             retaliated against Plaintiff
      failed to accommodate Plaintiff's disability                    unequal treatment
      other (explain):
 The EEOC issued a Notice of Right to Sue which was dated:               11/ 27/ 2007          and
 which was received by Plaintiff on       11/ 3 0 / 2 0 0 7
 >)   >)   The notice is attached to this complaint.      Eyes      no       a   %

 Plaintiff also filed charges concerning this discrimination with the Florida Commission on
 Human Relations on:                                          or E d i d not file.
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JUR18DlCT00MAQbWD STATUTORY BASIS OF C W U :
        This action is brought for discrimination in employment pursuant to:
                Title Vll of the Civil Rights Act of 1964, as codified, 42 U.S.C.        2000e to
                2000e-17 (race, color, gender, religion, national origin)

                Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621
                634

                Americans with Disabilities Act of 1990, as codified, 42 U.S.C. 9s 12112-12117

Note: To bring suit in federal court under any of the above Acts, you must first obtain a right to
sue leffer from the Equal Employment Opportunity Commission.

      Jurisdiction is specifically conferred upon this United States District Court by the
aforementioned statutes, as well as 28 U.S.C. §§ 1331, 1343.


111.    STATEMENT OF FACTS:
Briefiy state the FACTS of this case. Describe how-     Defendantwas involved and what each person did
or did not do which gives rise to your claim. In describing what happened, state the names of persons
involved; dates, and places. Do not make anv ieaal arauments or cite to any cases or statutes. You must set
forth separate factualailegationsin separatelynomberedparagraphs. Additional pages may be added tostate
the relevant facts if necessary. Absent extraordinary circumstances, no more than two (2) additional pages
should be attached


  Please read the attachments.
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 111 STATEMENT OF FACTS

 1.   PlaintifY. YILI TSENG is a citizen of Taiwan and received a Ph. D. degree in
      Computer Engineering from the University of Central Florida in December 2000.
      TSENG has the required English fluency to teach in a university even his native
      language is not English.

 2.   In August 2001, Plaintiff, YILI TSENG was recruited as an assistant professor
      by the Chairman ofthe Computer and Information Sciences (CIS) Department of
      Florida A & M University. Dr. Marion Harmon. with the impression that a tenure
      track position was offered. Several days after the offer was made, Dr. Edward L .
      Jones took over the Chairman position and made the employment
      recommendation to the University. TSENG did not know the offer was a visiting
      position instead of tenure track position until he received his contract, two
      months after accepting the position. Jones never explained why the position was
      visiting.

 3.   In August 2002, Jones secretly offered a tenure track assistant professor position
      to Jason Black. an African American, without advertising the position. Black was
      not qualified for the assistant professor position because he did not receive his
      Ph.D. degree until December 2004.

 4.   In the summer of 2003. the CIS Department solicited several assistant professor
      positions. TSENG applied for one of the positions and was interviewed.
      However, only Bhanu Prasad, an Eastern Indian, was awarded a tenure track
      assistant professor position. The CIS Department never explained about the
      denial of TSENG's application despite TSENG's qualifications were better than
      those of Prasad. Although Prasad had three years of college teaching experience,
      TSENG has D O years plus solid proofs ofteaching excellence which Prasad did
      not possess. TSENG was nominated for FAMU'S Teacher of the Year ,4ward in
      2002 and directed several students to win major awards in significant
      competitions.

 5.   In the spring of 2005, the CIS Department advertised four tenure track assistant
      professor positions. TSENG applied for the position, No. 19033, and was
      interviewed. However, only Hong-Mei Chi, a Chinese, was recommended for the
      tenure track assistant professor position despite her qualifications were
      apparently inferior to those of TSENG. TSENG's employment with FAMU
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      ended in May 2005 as a resn!t of four-year limitation of visiting positions which
      TSENG was never told of. T'ne CIS Department never revealed the reason of the
      denial of TSENG's application.

 6.   As the recommendation for Chi was not approved bq the University, the CIS
      Department once again advertised the position, No. 19033. in April 2006.
      TSENG and Chi submitted applications. TSENG was not interviewed. Chi was
      offered the position as a tenure track position and was hired upon execution of
      the contract in August 2006. Again, The CIS Department never explained why
      TSENG was not selected

 7.   In March 2007, TSENG filed a complaint with Equal Employment Opportunity
      Commission (EEOC). In the response of FAMU. which was adopted by EEOC,
      FAMU indicated that Jones stated Chi was recommended because she worked
      well and collaborated with ALL faculty members; and, her communication skills
      SURPASSED those of TSENG All three allegations are untrue and misleading.
      TSENG had four years of college teaching experiences while Chi had only one
      year in 2005. Chi has never been nominated for Teacher of the Year Award or
      directed students to win awards in any competition. TSENG has taught three
      graduate courses with high praise from students and directed a graduate student
      to publish a research paper while Chi had no similar experiences. This kind of
      credential was listed as preference on the advertisement. Collaboration with
      faculty members was not required in job descriptions. However. this criterion
      was unfairly adopted for Chi. TSENG's excellent performance proves his
      English ability is sufficient to teach while evidence shows that Chi's English
      ability is inadequate. T'nerefore, it is incredible that Chi's communication skills
      surpassed those of Tseng

 8.   Judged by the facts that fne language issue was raised while biased and untrue
      rationales were given in the response provided by FAMU and the weird hiring
      patterns shown by the CIS Deparbnent, this complaint is for discrimination based
      on national origin.
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12.    The facts as set forth above in Section Ill of this complaint:
       Q are still being committed by Defendant against Plaintiff
          are no longer being committed by Defendant against Plaintiff
13.    Plaintiff:   still works for Defendant El no longer works for Defendant, or not hired.
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14.    If this is a disability-related claim, did Defendant deny 2 request for a reasonable
       accommodation?              yes      no     Explain:




IV.     REQUEST FOR RELIEF:
       As relief from the allegations of discrimination as stated above, Plaintiff prays that the
Court grant the foliowing re!ief to Plaintiff:
         Defendant be directed to employ Plaintiff
         Defendant be directed to reemploy Plaintiff
         Defendant be directed to promote Plaintiff
       @ Defendant be directed to

       As additional relief to make Plaintiff whole, Plaintiff seeks:



          injunctive relief (please explain):
       a monetary damages (please explain): p a i n       from e m o t i o n a l d i s t r e s :     .   ~   i   =5.&$.
                                                                                                                     ~G,   -
       k3 costs and fees involved in litigating this case.     h~.lh:Iic\.ti'oe/\                                          <
       and such other relief as may be appropriate, including attorney's fees, if applicable.

        Plaintiff seeks a fl jury trial    bench trial (without jury)



I, hereby, declare lander penalty of perjury that the foregoing statements have been
written by me and are true and correct.




        (Date)

                                                       Y i l i Tseng
                                                               (please print or type name legibly)

                                                       3209 S t o n e b u r g Ct.
                                                       Apt. G

                                                       G r e e n s b o r o , N C 27409-8807
                                                               (full mailing address)
                                     ~-                                                                                                     ~




    EEOC          15!(11!     Case 4:08-cv-00091-SPM-WCS Document 1 Filed 02/27/08 Page 9 of 12
                            CHARGEOF DISCRIMINATION            C h a r g e P r e s e n t e d To:         1
                                                                                                 Agency(ies) Charge No@):
               T l i s b l m is affected 3y the Privacy Act of 1974. See enclosea Pnvacy Ac:                               FEPA
                          Slaternen! and other information before completing this form.
                                                                                                                           EECC                               51 1-2007-01662

                            --
                                                          Florida Commission
                                                                       -p--.-p-.--p
                                                                                    On Human Relations                                                             ~-p-        and EEOC
                                                                                Stale orlocafAgency. if aoy
    Name (indics!? Mr. M3..Mn.,                                                                                                   Home Phooe No. (incleiea CodeJ                Date at Bi-tk
    Dr. Vili Tseng                                                                                                                    (850) 294-5782                      1   01 -12-1963
    Slreet Aadress                                                                       City State and ZIP Code

1 8325 lnnsbrook Dr. Tallahassee. FL 32312                                                                                                                                                           1
    N a m e d is the Employer, Labor Organization, Employment Agency, Apprenticeship Commktee, or State or L o c a l Governmen! Agency That I Believe
                            Me or Others. (If m o r e than two, iist u n d e r PARTISUWRS Selovi)
    Name                                                                                                                      1   No E ~ p l w e c sMembers
                                                                                                                                                    ,         1   Phone No (Inciddr Area Codel
    FLORIDA A&M UNIVERSITY                                                                                                          500 or More

    Computer & Information Science, Tallahassee, FL 32307
    Name                                                                                                                          NO Emlloyees Members            Phone No tindude P r e a C m e ,

1                                                                                                                             I                               I                                      I
/ S:reet Aoaress                                                                         Cify Slate and ZIP Code


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1                                                                                                                                                Ea-lest                         ~aiest
             RACE                COLOR                     SEX                 RELIGION                      NATIONAL ORIGIN
                                                                                                                                          07-01-2006                          07-01-2006
                   RETALIATION            [7 AGE                       DlSABlLlm               OTHER (SpedWbeiovi)
                                                                                                                                                [I1CONTINUINGACTION
    THE PARTICULARSARE (!iaddrfiooafpaprrlsneede< attach extie sheef(sj):


; I. PERSONAL HARM
     I was employed with the University as a Visiting Professor for four years (2001 to 2005). In July 2006, 1
     applied for a tenure track professor position. Respondent chose Dr. Hongrnei Chi, a Chinese female, for
     the position. I have better qualifications than Dr. Chi.

     11. DISCRIMINATION STATEMENT
     I believe I have been discriminated against because of my national origin, Taiwanese, in violation of Title
     VII of the Civil Rights Act of 1964, as amended.




    i want this charge iiied with both the EEOC and the State or local 4gency: 11any. I will            NOTARY - When necessarf h r Stare aid Local Agency n'equirements
    anvise the agencies i: 1 change m y address or pnone number ano I will cooperate fuliy
    with them in the processing of my charge i r accordance with their procedures

    I d e c l a r e under pecalty of perjury that the a b o v e is true a n d correct.
                                                                                                    1
                                                                                                        I swear or affirm tnat I h a v e rear! the above charge and that it is irue t o
                                                                                                        :ne Dest o f m y knowledge, information and belief.
                                                                                                        SIGNATURE OF COMPLAINANT
                                                                                                                                                                                                         1
                                                                                                                                                                                                         i
                                                                                                        SUBSCXIBED AQD SWORh TO BEFORE M E T H S DATE
                                                                                                        (monih day y e e i )
                 Gale                                  Charging Part, Slgnaluie
                                                                                                   I
                  Case 4:08-cv-00091-SPM-WCS Document 1 Filed 02/27/08 Page 10 of 12
EEOC Form 161 (WE)             US.EQUALEMPLOYMENT
                                                OPPORTUNINCOMMISSION



To:   Yili Tseng, Ph.O                                                             From:    Tampa Field Office
      3209 Stoneburg 6t. Apt. G                                                             501 East Polk Street
      Greensboro, NC 27459.8807                                                             Room 1000
                                                                                            Tampa, FL 33602



          On behallof penon(s) aggrieved whose identity is
          CONFIDENTIAL (29 CFR 5 1601 7(a))
EEOC Charge No              EEOC Represeitatlve                                                                    Telephone No

                                      Sylvia Pouncy,
til l-2007-01662                      Supervisory Investigator                                                     (813) 202-7921
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
              The facts alleged in the charge fall to slate a cialm under any of the statutes enforced by the EEOC.


              Your al!.egations did,not involve a disability as defined by the Americans with Disabilities Act.

              The ~espondkntemploys'lesi thah the required number of employees or is not othewise covered by rhe statutes.

              Your charge was not timely filed with EEOC: in other words, you waited too Ion6 after the date@) of the alleged discrimination to file your
              charge.
              "ving    been given 30 days in which to respond, you failed to provide information, failed to appear or be available for
              lnterviews/wnferences. or otherwise failed to cooperate to the extent that it was not possibie to resolve your charge.

      jWhile reasonable efforts were made to locate you, we were no1able to do so.
              You m r e given 30 days to accept a reasonable settlement offer that affords full relief for the harm you alleged.

              h e EEOC issues the foilowing determination: Based upon its investigation, tile EEGC is unabie to conciude that the inforrnaiion obtained
              establishes violations of the statutes. This does not certify that the respondent is in wrnpliance with the statutes. No finding IS made as
              to any other issues that mighl be construed as having been raised by this charge.

      a       The EEOC has adopted the findings of the state or locai fair employment practices agency that investigated this charge.

              Other (briefly state)

                                                        - NOTICE OF SUIT R I G H T S -
                                                   (See the additional rcformatron attached to t h ~ sform)

TitleVII, the Americans with Disabilities Act, and/or the Age Discrimination i n Employment Act: T n ~ sWI I be the only
notlce of d smissal an0 of voLr rlant to sue that h e will seno V O L YOL mav fi e a tawsJ t aaatnst tne resoonoentfs) -rider
federal law based on this dharge-in federal or state court. your lawsuit must be filed WI~HIN 90 DA* of                     feceipt
of this Notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a state claim may
be different.)
Equal Pay Act (EQA): EPA suits must be filed in federal or state court within 2 years (3 yearsfor willful violations) of the
alleged EPAunderpayment. This means that backpay due for any violationsthat occurred more than 2vears(3 ~ e a r s l
before y o u file suit may not b e collectible.

                                                           On behalf of the Commission                                        i
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Endosure(s)
                                                  /,-., ~anu;l  Lurita. /
                                                           Director
                                              L
cc: Elizabeth T. Mc Bride
      General Counsel
      FLORIDA ABM UNIVERSITY
      Room 300 Lee Hall
      Tallahassee, FL 32307
                    Case 4:08-cv-00091-SPM-WCS Document 1 Filed 02/27/08 Page 11 of 12




                                                            7005 LLbO OOOL 4L5b SOLS     !
 .: ,,
  ,   ,               TAMPA FIELD OFFICE
,:';EQUAL        EMPLOYMENT OPPORTUNITY COMMISSION
            TIMBERLAKE FEDERAL BUILDINGANNEX
            '"
               501 E. POLK STREET, IOTH FLOOR
                    TAMPA, FLORIDA 33602

                        OFFICIAL BUSINESS
                   PENALTY FOR PRIVATE USE. $300
            )
             ,&*"0                                                                       I
            2                                               7005 LLbO OOOL 4L5b 5019
              Case 4:08-cv-00091-SPM-WCS Document 1 Filed 02/27/08 Page 12 of 12



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              Status: Delivered                                                                                   T?
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              Your item was delivered at 11:08 am on November 30,2007 in
              GREENSBORO, NC 27409, A proof of delivery record may be available
              through your local Post Office for a fee.                                                                                                     i
              Additional information for this item is stored in files offiine.




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